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 3
                        IN THE UNITED STATES DISTRICT COURT
 4
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 5
 6   TAHERA AHRARY,                         )
                                            )    2:11-cv-02992-GEB-EFB
 7                  Plaintiff,              )
                                            )
 8             v.                           )    ORDER CONTINUING STATUS
                                            )    (PRETRIAL SCHEDULING) ORDER
 9   SUSAN CURDA, Officer in Charge,        )
     Sacramento Office, U.S.                )
10   Citizenship and Immigration            )
     Services; ALEJANDRO N. MAYORKAS,       )
11   Director, Bureau of Citizenship        )
     and Immigration Services, U.S.         )
12   Dept. of Homeland Security;            )
     JANET NAPOLITANO, U.S. Secretary       )
13   of Homeland Security; ERIC H.          )
     HOLDER, JR., U.S. Attorney             )
14   General; ROBERT S. MUELLER, III,       )
     Director of the Federal Bureau         )
15   of Investigation,                      )
                                            )
16                 Defendants.              )
     ________________________________       )
17
18              The Status (Pretrial Scheduling) Conference scheduled for

19   hearing on October 15, 2012, is continued to November 26, 2012, at 9:00

20   a.m. A joint status report shall be filed no later than fourteen (14)

21   days prior to the Status Conference, in which the parties shall address

22   what, if anything, remains to be scheduled following the October 3, 2012

23   Order granting Plaintiff’s Motion for Summary Judgment.

24   Dated:   October 3, 2012
25
26                                    GARLAND E. BURRELL, JR.
                                      Senior United States District Judge
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